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     1                        UNITED STATES DISTRICT COURT

     2            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

     3              HONORABLE S. JAMES OTERO, U.S. DISTRICT JUDGE

     4

     5   UNITED STATES OF AMERICA,            )
                                              )
     6                     Plaintiff,         )
                                              )                 Case No.
     7        vs.                             )            CR 17-00697 SJO
                                              )
     8   DANIEL FLINT,                        )                 VOLUME 3
                                              )            (Pages 430 - 496)
     9                     Defendant.         )
         ____________________________________ )
    10

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    13                REPORTER'S TRANSCRIPT OF TRIAL PROCEEDINGS
                                     TRIAL DAY 3
    14                        THURSDAY, OCTOBER 18, 2018
                                       9:50 A.M.
    15                         LOS ANGELES, CALIFORNIA

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    22        ________________________________________________________

    23               CAROL JEAN ZURBORG, CSR NO. 7921, CCRR, RMR
                           FEDERAL OFFICIAL COURT REPORTER
    24                     350 WEST 1ST STREET, SUITE 4311
                         LOS ANGELES, CALIFORNIA 90012-4565
    25                              (213) 894-3539




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     1                           APPEARANCES OF COUNSEL:

     2

     3   FOR THE PLAINTIFF:

     4       NICOLA T. HANNA
             United States Attorney
     5       BY: CHRISTINE RO
             BY: IAN YANNIELLO
     6       BY: MARK AVEIS
                  Assistant United States Attorneys
     7       United States Courthouse
             312 North Spring Street
     8       Los Angeles, California 90012

     9   FOR THE DEFENDANT:

    10       HILARY LEE POTASHNER
             Federal Public Defender
    11       BY: CRAIG A. HARBAUGH
             BY: GEORGINA WAKEFIELD
    12            Deputy Federal Public Defenders
             Central District of California
    13       321 East Second Street
             Los Angeles, California 90012
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     1            LOS ANGELES, CALIFORNIA; THURSDAY, OCTOBER 18, 2018

     2                                   9:50 A.M.

     3                                    --oOo--

     4                (Out of the presence of the jury.)

     5                THE COURTROOM DEPUTY:      Please come to order.      This

     6   United States District Court, Central District of California is

     7   now in session, the Honorable S. James Otero presiding.

     8                THE COURT:    We are back on United States versus

     9   Flint.    The Court has received a final proposed set of jury

    10   instructions consistent with the hearing held by the Court

    11   yesterday where I ruled on particular objections.           I understand

    12   that there are two remaining issues, Instruction Number 14.

    13          And in reference to Instruction Number 14, I was informed

    14   by the clerk that the defendants and Government have agreed to

    15   modify Element Number 4 to strike the word "particular."            So it

    16   will read:    Defendant also acted with the intent to evade the

    17   security regulation.

    18          And for clarity, all of the other objections made by

    19   Ms. Wakefield concerning Instruction Number 14 remain in full

    20   force and effect and preserved for any appeal.

    21          And then there's an issue as to Instruction Number 13.

    22                MS. WAKEFIELD:     Yes, Your Honor.     I believe where we

    23   left things off yesterday, the Court was going to consider the

    24   request by the defense to strike the first paragraph, lines 9

    25   through 12, after the Court was able to review the grand jury




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     1   transcript.

     2                 THE COURT:   And I have the grand jury transcript

     3   here.

     4           The Government wish to be heard on that?

     5                 MR. YANNIELLO:    Yes, Your Honor.

     6           The Government's position is the same as yesterday, that

     7   the indictment clearly states what the rule is or what the

     8   regulations that Mr. Flint violated is that he carried an

     9   unscreened bag into LAX, and unscreened bag violates several of

    10   the CFRs and that should be in the objection.

    11                 THE COURT:   The defense objection is overruled, and

    12   the instruction will be given as offered.

    13                 MS. WAKEFIELD:    Would the Court consider giving --

    14   what we are concerned with is not a unanimous verdict as to

    15   which regulation was violated.       So I don't know if the Court

    16   would consider adding to the end of that paragraph, "with all

    17   of you agreeing as to which federal regulation the entry

    18   violated."

    19                 MR. YANNIELLO:    We would object to that, Your Honor.

    20   We don't think that's required.

    21                 THE COURT:   And why not?

    22                 MR. YANNIELLO:    Well, I think, arguably, the third

    23   category covers both of the prior two -- I guess

    24   "circumventing" might be a little broader.

    25           One moment, Your Honor.




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     1          (Discussion off the record.)

     2                THE COURT:    And so, Ms. Wakefield, you're proposing

     3   the additional sentence to be placed at the end of line 12?

     4                MS. WAKEFIELD:     Yes, Your Honor.

     5          (Pause in proceedings.)

     6                THE COURT:    Mr. Yanniello, do you have any

     7   additional comment?

     8                MR. YANNIELLO:     No, Your Honor.

     9                THE COURT:    I'm going to include the language.           So

    10   after line 12, it will read:       With all of you agreeing as to

    11   which federal regulation was violated.

    12                MS. WAKEFIELD:     Thank you, Your Honor.      I just want

    13   to make sure we have preserved our objection to including all

    14   three.

    15                THE COURT:    Yes.

    16                MS. WAKEFIELD:     Thank you.

    17                MS. RO:    Your Honor, if I may, the Government did

    18   want to raise one issue with respect to the Court's Instruction

    19   Number 14.    The United States would request for Element 1 of

    20   the offense, that "Terminal 3" be stricken.          "Terminal 3"

    21   shouldn't be in the substantive elemental instructional.

    22          Although the indictment contains it, the actual element of

    23   the offense is entering a sterile area of an airport.           It's not

    24   entering a specific sterile area of the airport, so it's not an

    25   element of the offense that the defendant needs to enter




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     1   Terminal 3.    The element of the offense is that the defendant

     2   has to enter a sterile area of an airport area, specifically to

     3   LAX.

     4                 THE COURT:   To be clear, it has to be LAX?

     5                 MS. RO:   Yes, but not Terminal 3.

     6                 MS. WAKEFIELD:    Again, we would object to that.

     7   This is in the indictment.       This gives -- the indictment gives

     8   defendant notice of what he's charged with.          And the

     9   Government's theory is changing based on the testimony of

    10   Mr. Duretto, and that's -- it's not proper.          It's charged in

    11   the indictment as he entered a secure and sterile area of

    12   Terminal 3 at Los Angeles International Airport.

    13                 THE COURT:   It's going to remain as is, consistent

    14   with the indictment.

    15          And then I think we need to have a discussion about the

    16   verdict form.

    17                 MS. RO:   Your Honor, Mr. Cruz provided both sides

    18   the verdict form, and both sides agree with it.

    19                 THE COURT:   We have an agreed-upon verdict form.

    20                 MS. WAKEFIELD:    That's fine, Your Honor.

    21                 THE COURT:   I don't know if I have a copy.

    22          Are there any other evidentiary issues to handle before we

    23   call the jury in?

    24                 MS. RO:   Your Honor, I believe the Court was going

    25   to consider the Government's request for reconsideration on the




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     1   Court's prior ruling.

     2                THE COURT:    Yes, we have that.

     3                MS. WAKEFIELD:     Thank you, Your Honor.

     4          And I believe the only issue now that remains is the

     5   bankruptcy exhibits proposed by the Government.          So I spent a

     6   lot of time on the docket last night, so I wanted to point out

     7   to the Court, I have Document Number 105, the Government's

     8   request for reconsideration.       I'm looking at page 20, which is

     9   the summary of schedules that the Court was looking at

    10   yesterday.

    11                THE COURT:    Yes.

    12                MS. WAKEFIELD:     I wanted to point out to the Court,

    13   at the top of that page, this case is not a bankruptcy filing

    14   by Mr. Shumake.     It's a bankruptcy filing by ICG Real Estate

    15   Advisors, LLC.     The previous stipulation is in a separate case.

    16   The case number is different.       That is the case involving

    17   Mr. Shumake.    And the stipulation is not a claim made by

    18   Mr. Flint.

    19          And then the ICG Real Estate Advisors case, this was a

    20   Chapter 11 bankruptcy by a business, and the summary of

    21   schedules was not a claim made by Mr. Flint.          It's actually

    22   what the company filing for bankruptcy lists as people it owes

    23   money to.    So this is not any sort of statement by Mr. Flint

    24   that he's claiming that ICG Real Estate Advisors owes him

    25   $25,000.    This is ICG Real Estate Advisors saying they owed




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     1   Mr. Flint $25,000.       And then this case was actually dismissed.

     2                  MS. RO:   Your Honor, I do have the full, complete 25

     3   pages that was filed in the U.S. Bankruptcy Court, if that may

     4   assist the Court and defense counsel.

     5                  THE COURT:   The problem with 25 pages is it's far

     6   too complex for the jury to understand.         The Court is going to

     7   deny the motion for reconsideration.

     8          Okay.    Are we ready?   So we have the final issue as to

     9   whether the defense has rested.

    10                  MS. WAKEFIELD:   We will rest when the jury comes in.

    11                  THE COURT:   Then we need to remove Instruction

    12   Number 3B.

    13                  MS. WAKEFIELD:   Correct.

    14                  THE COURT:   So, Mr. Flint, you understand your right

    15   to testify in this matter.       I assume that you've consulted with

    16   your counsel, and you elect not to offer testimony in the case;

    17   is that correct?

    18                  THE DEFENDANT:   That's correct, Your Honor.

    19                  THE COURT:   Any questions regarding your right?

    20                  THE DEFENDANT:   No, Your Honor.

    21                  THE COURT:   When the jury comes out, I'm going to

    22   instruct the jury as to the law.        Is the Government able, when

    23   the jury starts their deliberation, able to provide a copy for

    24   each juror?     Can that be accomplished?

    25                  MR. YANNIELLO:   Of the jury instructions?




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     1                THE COURT:    Yes.

     2                MR. YANNIELLO:     Sure, Your Honor.

     3                THE COURT:    Then how do you want to handle argument?

     4   Go right into the argument right away?

     5                MR. HARBAUGH:     That's fine, Your Honor.

     6                MR. YANNIELLO:     Can we actually have a short recess?

     7                THE COURT:    So you want to set up, like five minutes

     8   to set up?

     9                MR. YANNIELLO:     Probably closer to ten.      I apologize

    10   for the inconvenience.

    11                THE COURT:    Okay.     Let's bring the jury out.

    12                MS. RO:    Your Honor, would the Court prefer, if I

    13   may be excused to work on the instructions so the instructions

    14   will be ready and available for the jury.

    15                THE COURT:    Feel free, yes.

    16                MS. RO:    Thank you.

    17          (Pause in proceedings.)

    18                THE COURTROOM DEPUTY:      Are we ready, Your Honor?

    19                THE COURT:    Yes.

    20                THE COURTROOM DEPUTY:      Would you all rise for the

    21   jury, please.

    22          (In the presence of the jury.)

    23                THE COURT:    So we have the jury reassembled.        We

    24   have the alternate also.      Counsel are present with the

    25   defendant.    Please have a seat.




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      1          Ms. Ro is not present this morning.       She is working on

      2   other matters related to the case back at the office.

      3          So the parties have rested.      Each side has concluded with

      4   their case, and now it's the Court's task to read the

      5   instructions to the jury.      You don't have to take notes

      6   regarding the instructions.      You're going to be given -- each

      7   of you will be given a copy of these instructions in written

      8   form so that it will guide you when you start your

      9   deliberations.    And then today the jury will be provided lunch.

    10    Mr. Cruz is working on that now.

    11           After the Court reads instructions, we will take a short

    12    recess, and that will allow counsel to set up for argument, and

    13    then argument will be presented to you, and the matter will be

    14    submitted to you today.      So I think we're a day ahead of

    15    schedule.

    16           Members of the jury, now that you have heard all of the

    17    evidence, it's my duty to instruct you on the law that applies

    18    to this case.    A copy of these instructions will be available

    19    in the jury room for you to consult.        It is your duty to weigh

    20    and to evaluate all the evidence received in the case, and in

    21    that process to decide the facts.       It is also your duty to

    22    apply the law as I give it to you to the facts as you find them

    23    whether you agree with the law or not.

    24           You must decide the case solely on the evidence and the

    25    law.   Do not allow personal likes or dislikes, sympathy,




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      1   prejudice, fear or public opinion to influence you.          You should

      2   also not be influenced by any person's race, color, religion,

      3   national ancestry, gender, sexual orientation, profession,

      4   occupation, celebrity, economic status or position in life or

      5   in the community.     You will recall that you took an oath

      6   promising to do so at the beginning of the case.

      7         You must follow all of these instructions and not single

      8   out some and ignore others.      They are all important.       Please do

      9   not read into these instructions or anything that I may have

    10    said or done any suggestion as to what verdict you should

    11    return.    That is a matter entirely up to the jury.

    12          The indictment is not evidence.        The defendant has pleaded

    13    not guilty to the charge.      The defendant is presumed to be

    14    innocent unless and until the Government proves the defendant

    15    guilty beyond a reasonable doubt.       In addition, the defendant

    16    does not have to testify or present any evidence to prove

    17    innocence.    The Government has the burden of proving every

    18    element of the charge beyond a reasonable doubt.

    19          A defendant in a criminal case has a constitutional right

    20    not to testify.    In arriving at your verdict, the law prohibits

    21    you from considering in any manner that the defendant did not

    22    testify.

    23          Proof beyond a reasonable doubt is proof that leaves you

    24    firmly convinced the defendant is guilty.         It is not required

    25    that the Government prove guilt beyond all possible doubt.              A




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      1   reasonable doubt is doubt based upon reason and common sense

      2   and is not based purely on speculation.        It may arise from a

      3   careful consideration -- a careful and impartial consideration

      4   of all of the evidence or from lack of the evidence.           If after

      5   a careful and impartial consideration of all of the evidence

      6   you are not convinced beyond a reasonable doubt that the

      7   defendant is guilty, it is your duty to find the defendant not

      8   guilty.   On the other hand, if after a careful and impartial

      9   consideration of all of the evidence you are convinced beyond a

    10    reasonable doubt that the defendant is guilty, it is your duty

    11    to find the defendant guilty.

    12          The evidence you are to consider in deciding what the

    13    facts are consist of:     the sworn testimony of any witness, the

    14    exhibits received in evidence, and any facts to which the

    15    parties have agreed to.

    16          In reaching your verdict you may consider only the

    17    testimony and exhibits received in evidence.         The following

    18    things are not evidence, and you may not consider them in

    19    deciding what the facts are:       questions, statements,

    20    objections, and arguments by the lawyers are not evidence.              The

    21    lawyers are not witnesses.      Although you must consider a

    22    lawyer's questions to understand the answers of a witness, the

    23    lawyer's questions are not evidence.

    24          Similarly, what the lawyers have said in opening

    25    statements, what they will say in their closing arguments, and




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      1   at other times is intended to help you interpret the evidence,

      2   but it is not evidence.      If the facts as you remember them

      3   differ from the way the lawyers state them, your memory of them

      4   controls.

      5           Any testimony that I have excluded, stricken or instructed

      6   you to disregard is not evidence.       Anything you may have seen

      7   or heard when the Court was not in session is not evidence.

      8   You are to decide the case solely on the evidence received at

      9   the trial.

    10            Evidence may be either direct or circumstantial.        Direct

    11    evidence is direct proof of a fact, such as testimony by a

    12    witness about what that witness personally saw or heard or did.

    13    Circumstantial evidence is indirect evidence; that is, it is

    14    proof of one or more facts from which you can find another

    15    fact.    You are to consider both direct and circumstantial

    16    evidence.    Either can be used to prove any fact.        The law makes

    17    no distinction between the weight to be given to either direct

    18    or circumstantial evidence.      It is for you to decide how much

    19    weight to give to any evidence.

    20            By way of example, if you wake up in the morning and see

    21    that the sidewalk is wet, you may find that the fact -- you may

    22    find that the fact -- you may find that that fact that it

    23    rained during the night.      However, other evidence, such as a

    24    turned-on garden hose may provide an explanation for the water

    25    on the sidewalk.     Therefore, before you decide that a fact has




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      1   been proved by circumstantial evidence, you must consider all

      2   of the evidence in the light of reason, experience, and common

      3   sense.

      4         In deciding the facts in this case, you may have to decide

      5   which testimony to believe and which testimony not to believe.

      6   You may believe everything a witness says or part of it or none

      7   of it.   In considering the testimony of any witness, you may

      8   take into account the following:       the opportunity and the

      9   ability of the witness to see or hear or know the things

    10    testified to; the witness's memory; the witness's manner while

    11    testifying; the witness's interest in the outcome of the case,

    12    if any; the witness's bias or prejudice, if any; whether other

    13    evidence contradicted the witness's testimony; the

    14    reasonableness of the witness's testimony in light of all of

    15    the evidence; and any other factors that bear on believability.

    16          Sometimes a witness may say something that is not

    17    consistent with something else he or she said.          Sometimes

    18    different witnesses will give different versions of what

    19    happened.   People often forget things or make mistakes in what

    20    they remember.    Also, two people may see the same event but

    21    remember it differently.      You may consider these differences,

    22    but do not decide that testimony is untrue just because it

    23    differs from other testimony.

    24          However, if you decide that a witness has deliberately

    25    testified untruthfully about something important, you may




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      1   choose not to believe anything that witness said.          On the other

      2   hand, if you think the witness testified untruthfully about

      3   some things but told the truth about others, you may accept the

      4   part you think is true and ignore the rest.

      5         The weight of the evidence as to a fact does not

      6   necessarily depend on the number of witnesses who testify.

      7   What's important is how believable the witnesses were and how

      8   much weight you think their testimony deserves.

      9         The indictment charges the offense alleged was committed

    10    on or about a certain date.      Although it is necessary for the

    11    Government to prove beyond a reasonable doubt that the offense

    12    was committed on a date reasonably near the date alleged in the

    13    indictment, it is not necessary for the Government to prove

    14    that the offense was committed precisely on the date charged.

    15          You have heard testimony that the defendant made a

    16    statement.    It is for you to decide whether the defendant made

    17    the statement, and if so, how much weight to give to it.           In

    18    making those decisions, you should consider all of the evidence

    19    about the statement, including the circumstances under which

    20    the defendant may have made it.

    21          You have heard evidence that the defendant committed other

    22    crimes, wrongs or acts not charged here.         You may consider this

    23    evidence only for its bearing, if any, on the question of the

    24    defendant's intent, knowledge, absence of mistake or absence of

    25    accident and for no other purpose.        You may not consider this




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      1   evidence as evidence of guilt of the crime for which the

      2   defendant is currently or now on trial.

      3         You have heard testimony from Michael Duretto, the

      4   assistant federal security director at the Transportation

      5   Security Administration, and Fahima Danishgar, foreign affairs

      6   officer at the U.S. Department of State to opinions and the

      7   reasons for their opinions.      This opinion testimony is allowed

      8   because of the education or experience of these witnesses.

      9   Such opinion testimony should be judged like any other

    10    testimony.    You may accept it or reject it and give it as much

    11    weight as you think it deserves considering the witness's

    12    education and experience, the reasons given for the opinion,

    13    and all the other evidence in the case.

    14          I will now instruct you on the relevant federal airport

    15    security regulations and requirements referred to in the sole

    16    count of the indictment.      The federal regulations and security

    17    requirements prohibit any person from entering a sterile area

    18    of an airport or boarding an aircraft without submitting to

    19    screening and inspection of his or her person and accessible

    20    property; circumventing or attempting to circumvent any

    21    security system, measure or procedure implemented to protect

    22    passengers and property on an aircraft; and/or entering a

    23    sterile area without complying with the procedures being

    24    applied to the area, with all of you agreeing as to which

    25    federal regulation is violated.




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      1         The term "sterile area" means a portion of an airport

      2   where passengers have access to boarding aircraft and to which

      3   the access generally is controlled by the Transportation

      4   Security Administration; an aircraft operator through the

      5   screening of persons and property.        The Los Angeles

      6   International Airport, the Chicago Airport and the Chicago

      7   Midway International Airport are airports for purposes of these

      8   regulations.

      9         Diplomatic pouches are bags, pouches or other containers

    10    that are used for transporting diplomatic correspondence,

    11    documents, articles intended for official use from foreign

    12    governments or public international organizations that are

    13    registered with the United States Department of State.

    14    Diplomatic pouches are exempted from the security screening

    15    requirements when carried by diplomatic couriers who possess

    16    diplomat status and the required documentation.

    17          Specifically for a diplomatic pouch to be exempt from

    18    security screening at TSA, the diplomatic courier must possess

    19    and present to TSA a valid diplomatic passport that is issued

    20    by a foreign government or public international organization

    21    that is registered with the United States Department of State;

    22    a courier letter from a foreign government or public

    23    international organization registered with the United States

    24    Department of State bearing the seal of the foreign government

    25    or public international organization; and a diplomatic pouch




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      1   whose exterior is clearly identified as a diplomatic pouch and

      2   bears the official seal of the government or public

      3   international organization that is registered with the United

      4   States Department of State.

      5         Individuals who are not diplomatic couriers and who do not

      6   possess valid diplomatic documentation must submit their items

      7   for screening and inspection before entering the sterile area

      8   of an airport.

      9         The defendant, Mr. Flint, is charged in the sole count of

    10    the indictment with entering an airport in violation of

    11    security requirements.      In order for the defendant to be found

    12    guilty of that charge, the Government must prove each of the

    13    following elements beyond a reasonable doubt:         one, the

    14    defendant entered an airport area that serves an air carrier,

    15    namely, the sterile area of Terminal 3 at Los Angeles

    16    International Airport; two, defendant did so in violation of

    17    security requirements and regulations prescribed under sections

    18    44901, 44903(c) of Title 49 of the United States Code; and the

    19    defendant acted knowingly and willfully and the defendant also

    20    acted with the intent to evade the security regulation.

    21          The third element which the Government must prove beyond a

    22    reasonable doubt is that the defendant acted knowingly and

    23    willfully.    An act is done knowingly if the defendant is aware

    24    of the act and does not act through ignorance, mistake or

    25    accident.    You may consider evidence of the defendant's words,




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      1   acts or omissions, along with all the other evidence, in

      2   deciding whether the defendant acted knowingly.          An act is done

      3   willfully if the defendant committed it voluntarily with

      4   knowledge that it was prohibited by law and with the purpose of

      5   violating the law and not by mistake, accident or good faith.

      6         A defendant who acts on a good-faith misunderstanding as

      7   to the requirements of the law does not act willfully even if

      8   his understanding of the law is wrong or unreasonable.           Thus,

      9   in order to prove that the defendant acted willfully, the

    10    Government must prove beyond a reasonable doubt that the

    11    defendant did not have a good-faith belief that he was

    12    compliant with the law.

    13          After argument of counsel and later this afternoon or

    14    later today when you begin your deliberations, elect one member

    15    of the jury as your foreperson who will preside over the

    16    deliberations and speak for you here in court.          You will then

    17    discuss the case with your fellow jurors and reach an

    18    agreement, if you can do so.       Your verdict of guilty or not

    19    guilty must be unanimous.      Each of you must decide the case for

    20    yourself, but you should do so only after having considered all

    21    of the evidence, discussed it fully with your fellow jurors,

    22    and listened to the views of your fellow jurors.

    23          Do not be afraid to change your opinion if the discussion

    24    persuades you that you should, but do not come to a decision

    25    simply because other jurors think it is right.          It is important




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      1   that you attempt to reach a unanimous verdict, but, of course,

      2   only if each of you can do so after having made your own

      3   conscientious decision.      Do not change an honest belief about

      4   the weight and effect of the evidence simply to reach a

      5   verdict.

      6         Perform these duties fairly and impartially.          Do not allow

      7   personal likes or dislikes, sympathy, prejudice, fear or public

      8   opinion to influence you.      You should also not be influenced by

      9   any person's race, color, religion, national ancestry, gender,

    10    sexual orientation, profession, occupation, celebrity, economic

    11    circumstances or position in life or in the community.

    12          It is your duty as jurors to consult with one another and

    13    to deliberate with one another with a view towards reaching an

    14    agreement, if you can do so.       During your deliberations, you

    15    should not hesitate to re-examine your own views and change

    16    your opinion if you become persuaded that it is wrong.

    17          Because you must base your verdict only on the evidence

    18    received in the case and on these instructions, I remind you

    19    that you must not be exposed to any other information about the

    20    case or to the issues that it involves, except for discussing

    21    the case with your fellow jurors during your deliberations.

    22          Do not communicate with anyone in any way and do not let

    23    anyone else communicate with you in any way about the merits of

    24    the case or anything to do with it.        This includes discussing

    25    the case in person, in writing, by phone or electronic means




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      1   via e-mail, text messaging or by any Internet chat room, blog,

      2   website or any other feature.       This applies to communicating

      3   with your family members, your employer, the media, press and

      4   the people involved in the trial.

      5           If you are asked or approached in any way about your jury

      6   service or anything about this case, you must respond that you

      7   have been ordered not to discuss the matter and to report the

      8   contact to the Court.     Do not read, watch or listen to any news

      9   or media accounts or commentary about the case or anything to

    10    do with it.    Do not do any research such as consulting

    11    dictionaries, searching the Internet or using other reference

    12    materials, and do not make any investigation or in any other

    13    way try to learn about the case on your own.

    14            The law requires these restrictions to ensure that the

    15    parties have a fair trial based on the same evidence that each

    16    party had an opportunity to address.        A juror who violates

    17    these restrictions jeopardizes the fairness of these

    18    proceedings, a mistrial could be a result.         That would require

    19    the entire trial process to start over.        If any juror is

    20    exposed to any outside information, please notify the Court

    21    immediately.

    22            Some of you have taken notes during trial.       Whether or not

    23    you took notes, you should rely on your own memory of what was

    24    said.    Notes are only to assist your memory.       You should not be

    25    overly influenced by the notes of your fellow jurors.




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      1         Punishment provided by law for this crime is for the Court

      2   to decide.    You may not consider punishment in deciding whether

      3   the Government has proved its case against defendant beyond a

      4   reasonable doubt.

      5         A verdict form has been prepared for you.         After you have

      6   reached a unanimous verdict or unanimous agreement on a

      7   verdict, your foreperson should complete the verdict form

      8   according to the deliberations, sign and date it, and advise

      9   the clerk or bailiff that you have -- that you are ready to

    10    return to the courtroom.

    11          If it becomes necessary during your deliberations to

    12    communicate with the Court, you may send a note through the

    13    clerk or bailiff signed by one or more of you.          No member of

    14    the jury should ever attempt to communicate with me except by a

    15    signed writing.    And I will respond to the jury concerning the

    16    case only in writing or here in open court.         If you send out a

    17    question, I will first consult with the lawyers before

    18    answering it, which may take some time.        You may continue your

    19    deliberations while waiting for the answer to any question.

    20          Remember, you are not to tell anyone, including me, how

    21    the jury stands numerically or otherwise on any question

    22    submitted by you, including the question of the guilt of the

    23    defendant, until after you have reached a unanimous verdict or

    24    have been discharged.

    25          That concludes the reading of the jury instructions to the




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      1   jury.

      2           Are we going to take a short recess?      Yes?

      3                MR. YANNIELLO:    Yes, Your Honor.

      4                THE COURT:    Are there any other issues to discuss

      5   regarding the Court's reading of the jury instructions?           None?

      6                MS. WAKEFIELD:    No.

      7                MR. YANNIELLO:    No, Your Honor.

      8                THE COURT:    So a short recess that's going to allow

      9   counsel to set up.     It's probably a good opportunity to take a

    10    restroom break also.      And please return at -- we will make it

    11    20 to the hour.

    12                 THE COURTROOM DEPUTY:     All rise for the jury,

    13    please.

    14                 THE COURT:    We are in recess.

    15            (Recess taken from 10:26 a.m. to 10:40 a.m.)

    16                 THE COURTROOM DEPUTY:     Would you all rise for the

    17    jury, please.

    18            (In the presence of the jury.)

    19                 THE COURT:    We have the jury reassembled.       We have

    20    the alternates.    We have counsel and the defendant here.

    21    Please have a seat.

    22            It's now the opportunity for the parties to provide

    23    argument to you.     The Government starts first, followed by the

    24    defendant.    Mr. Harbaugh will be providing the argument for --

    25    on behalf of Mr. Flint, and then Mr. Yanniello will have a




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      1   second opportunity to address you.        The Government gets two

      2   opportunities, the defendant just one because the Government

      3   has the burden of proof in the case.

      4         With that, I will turn it over to counsel.

      5                MR. YANNIELLO:    Thank you, Your Honor.

      6         When you heard opening statement, you heard about two

      7   Daniel Flints.    The defense told you that Daniel Flint was a

      8   small-town lawyer, someone who was handed this identification

      9   card, and he swore a diplomatic oath, someone that was duped by

    10    Robert Shumake because he trusted Robert Shumake.

    11          The Government told you that this case was about a Daniel

    12    Flint who knew he wasn't a diplomat, a Daniel Flint that was

    13    specifically told by TSA that he needed a diplomatic passport,

    14    and that he couldn't board a flight with a diplomatic courier

    15    bag, and a Daniel Flint who researched and knew the rules and

    16    what was required to bring that diplomatic bag on the airplane.

    17          But he researched the rules, not so that he could comply

    18    with them; he researched the rules so he could violate them.

    19    He researched the rules -- the evidence in this case supports

    20    only one of those stories:      that the defendant knew his

    21    credentials were phony, that he intended to use his skills as a

    22    lawyer to talk his way through screening, and that he intended

    23    to evade airport security so that he could smuggle cash through

    24    screening over and over and over again.

    25          Yesterday you heard about Robert Shumake, the man




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      1   Mr. Flint trusted and swore an oath to.        Well, Special

      2   Agent Simon testified that Mr. Shumake has a criminal history

      3   about that big, testified that when this offense happened on

      4   July 25th, 2017, he was -- Mr. Shumake was facing fraud

      5   charges.

      6         Ladies and gentlemen, Daniel Flint wasn't born yesterday.

      7   He knew -- he knew that taking a piece of paper to Kinko's and

      8   having it laminated did not make him a diplomat.          He knew that

      9   swearing an oath to some organization based out of a P.O. Box

    10    in Pakistan did not give him diplomatic privileges to board an

    11    aircraft with an unscreened bag.       He knew, and he didn't care.

    12          And, again, he didn't care because the purpose of his

    13    entire scheme was to -- the reason Daniel Flint pretended to be

    14    a diplomat is because Daniel Flint wanted to transport bags

    15    full of money to LAX, through LAX, without any law enforcement

    16    individual seeing it, without TSA, without screeners at

    17    Los Angeles Airport, without any law enforcement seeing it.

    18          For this, defendant has been charged with a single count,

    19    entering an airport in violation of security requirements.

    20    There are four elements to this charge:        entering a sterile

    21    area of Terminal 3 of LAX; violating security requirements;

    22    knowingly and willful; and intent to evade.         And when I get to

    23    those last two elements, I'm going to talk about them together

    24    because they both relate to what defendant was thinking at the

    25    time, and the evidence that showed that he did, in fact, intend




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      1   to evade the security procedures.

      2         Let's talk about Element 1, entering a sterile area.              How

      3   do you know that defendant entered a sterile area of

      4   Terminal 3?    Well, you heard testimony and you saw this

      5   exhibit, 45, that shows you a bird's eye view of Terminal 3.

      6   And you heard quite a bit of testimony from several people, but

      7   Michael Duretto, the assistant security director of LAX

      8   Airport, he drew a big box around this area, he drew a circle

      9   around the terminal, and then he drew a big box and he said all

    10    of that's sterile.

    11          He said when people get onto planes and when they get off

    12    of planes, even the little boarding hallways that attach to the

    13    plane, those are sterile as well.       He also testified that

    14    airplanes themselves are sterile, and that any -- essentially

    15    anytime you pass a TSA checkpoint, anytime you are in an area

    16    where you're boarding, where there's people boarding planes,

    17    that's sterile.

    18          So when Mr. Flint went through airport security in Chicago

    19    Midway on July 25th, when he tricked TSA into believing he was

    20    a diplomat, he entered a sterile area of Chicago Airport.           When

    21    he got on the plane, he was still in a sterile area.           When he

    22    got all the way back to LAX and landed, sterile area.

    23          And so how do you know that defendant entered a sterile

    24    area of LAX?    Well, because his plane landed and he got off and

    25    that bag was not screened.




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      1         So Element 2, violated security requirements.          Well,

      2   ladies and gentlemen, we have all been to an airport, and we

      3   know that -- we've seen this sign.        And you've heard evidence

      4   about this.    When you enter an area past TSA checkpoints,

      5   everyone must be screened:      all persons, all bags, all

      6   property.   No attempting to circumvent security screening.

      7         And you will see this in Instruction 13.         It's very clear

      8   on this point.    And Mr. Duretto explained this, but there is

      9   also a regulation that discusses it doesn't matter where you

    10    enter the secure area, if you get off a plane, if you enter

    11    through a window, if you enter that area, you must comply with

    12    the overall mechanism for controlling access, and that

    13    mechanism is TSA screening.

    14          So you also heard that there's a limited exception to TSA

    15    screening, and that's a diplomatic bag.        And, again,

    16    Instruction 13 very clearly instructs that this applies, this

    17    limited exception applies to a bona fide, real diplomat and a

    18    real diplomatic courier bag.       And it makes clear that, also,

    19    individuals who are not diplomatic couriers and who do not

    20    possess valid diplomatic identification, they must submit their

    21    items to screening.

    22          So how do you know that Daniel Flint violated security

    23    requirements on July 25th, 2017 when he got to LAX?          Well, his

    24    bag had never been screened.       He had duped TSA security in

    25    Midway, got that bag through, but they figured it out.           They




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      1   called LAX.    And as you heard Special Agent Marriott, the FBI,

      2   TSA, and other security personnel were waiting for Mr. Flint

      3   because you can't bring that bag on an airplane without it

      4   being screened.

      5         So when Mr. Flint landed, we know he doesn't have a

      6   diplomatic passport.     We know he showed phony credentials, so

      7   he violated TSA -- he violated federal regulations by landing

      8   with that unscreened bag.

      9         So let's talk about -- I mentioned before, I want to talk

    10    about Element 3 and Element 4 together because those relate to

    11    defendant's mental state:      What was he thinking?      And what did

    12    he intend?    Knowingly and willfully is Element 3, and intent to

    13    evade, which is that he -- his purpose was, in fact, to violate

    14    security requirements or circumvent them.         So I'm going to talk

    15    about these together because the evidence shows unequivocally

    16    that defendant did intend to evade security requirements, and

    17    so he also knowingly and willfully violated them.

    18          How do we know?     Well, we first know because defendant was

    19    actually told the rules.      He went to Chicago O'Hare just five

    20    days before, and TSA personnel, two of them, you heard them

    21    testify, said this plastic, self-laminated identification

    22    card -- you know it's self-laminated.        You heard testimony that

    23    defendant went and had it laminated, but they didn't know.

    24    They just saw his document, and it was not a diplomatic

    25    passport.    "You need a diplomatic passport.       You can't come




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      1   through."

      2         So what did defendant do that day?        And, again, let me

      3   back up for a second.     They also gave him an option.        They

      4   said, "We will screen that bag and you can go on your merry way

      5   and you can get on your plane and go to LAX, or you can decide

      6   not to screen that bag and you can't board the plane."

      7         So what did defendant do?       He said "no."    He immediately

      8   booked another flight from another airport, went across town to

      9   Chicago Midway.    And, unfortunately, he did get through

    10    security there.    So he was told the rules.       He also researched

    11    the rules.    And how do we know he researched the rules?

    12    Because he said it multiple times in his interview.          He said,

    13    "I looked at all the rules."       He said, "Based on all my

    14    research."    He researched the rules.

    15          And let's also think about what Special Agent Marriott

    16    testified to yesterday.      We have the formal state department

    17    guidance on diplomatic pouches, which very clearly states any

    18    diplomatic courier needs a diplomatic passport.          It took

    19    Special Agent Marriott two clicks with a Google search.            The

    20    first click, state department.       On that state department

    21    website, a link to that formal guidance.

    22          We also know that defendant knew the rules because of the

    23    video we saw on July 25th.      He walked up.     You know, you

    24    heard -- you heard Raja Wondrasek, first time ever dealing with

    25    a diplomatic passport -- or sorry, diplomatic courier bag or




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      1   alleged diplomatic courier bag in 15 years as a TSA officer.

      2   She was a manager.     She went out there; she was doing her best.

      3   She saw the first courier letter she had ever seen.

      4         And so what does defendant do when he gets up and makes

      5   contact with Ms. Wondrasek?      "I know the rules.      That's a

      6   seal."   What does he do when she's looking at his

      7   identification document?      He brings out the binder, which you

      8   should take a very close look at when you're back in the jury

      9   room deliberating.     And what does he open to?      He opens up to a

    10    large laminated version of his diplomatic identification card.

    11          And what does he point to?       The word "Passport."       Now, it

    12    says "ID card number," but it says "Passport."          And you

    13    understand just by looking at this and looking at the card how

    14    somebody could be reasonably confused by this, that

    15    something -- the requirement is a diplomatic passport, and this

    16    card that they're being presented with that -- they've never

    17    seen a diplomatic passport.      The card they are being presented

    18    with says "Diplomat" in red across it with "Passport" right

    19    below it.   Not a diplomatic passport, ladies and gentlemen.

    20          You also heard in one of the clips that was played for you

    21    that Mr. Flint told Special Agent Marriott -- he offered it up.

    22    He said, "Oh, I have a copy of Mr. Shumake's diplomatic

    23    passport in that binder."      You heard Special Agent Marriott

    24    testify that the only form of identification related to

    25    diplomatic status was Mr. Shumake's IHRC card, or a copy of it,




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      1   again, with a passport number listed right below "Diplomat."

      2         Ladies and gentlemen, you also know that he intended to

      3   evade security procedures because he knew these documents were

      4   bogus.   He knew -- he knew that a laminated card that he took

      5   and had it laminated referencing a P.O. Box in Pakistan did not

      6   give him diplomatic status.      His courier letter references a

      7   main office in San Francisco and then has some 5250 Lankershim

      8   Boulevard, North Hollywood.

      9         The letter you heard testimony about from Special

    10    Agent Marriott, Exhibit 5, it specifically says -- it doesn't

    11    say that there is any formal relationship between the United

    12    States and this organization.       It's just some letter from the

    13    organization requesting status about the possibility of

    14    starting a friendly relationship.

    15          You also know that defendant, during his interview with

    16    agents, referenced this agreement, the Vienna Convention --

    17    it's a long name.     It's a 1997 -- or 1975 agreement,

    18    apparently, but you also know on the very cover of that

    19    agreement, it says, "Not yet in force."        We are talking about

    20    an attorney here, somebody who went to college, law school,

    21    took two bar exams, presumably.       He's barred in two states.        It

    22    says "Not yet in force" on the very cover of the agreement.

    23          And remember, defendant's intent was not just to get the

    24    bag on the plane.     His intent was to get the bag through

    25    airport security and to Los Angeles so he could hand it off to




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      1   whoever he needed to hand it off to.

      2         This is not a case about an innocent mistake.          This is a

      3   case about an attorney who knew what he was doing, someone who

      4   researched the law and tested airport security to find

      5   weaknesses, and someone who dedicated hours, days, weeks

      6   crafting this scheme, putting these documents together.           And

      7   the scheme, again, as I just said, it wasn't just to get to

      8   L.A.; it was to get through L.A., through security at

      9   Los Angeles International Airport.

    10          And in summary, this case, as defense counsel put it

    11    earlier, is a case about trust, except that the evidence shows

    12    that the defense had it backwards.        Robert Shumake trusted the

    13    defendant, not the other way around.        Shumake trusted defendant

    14    to use his smarts as a lawyer; his ability to use his silver

    15    tongue; his skills of argument; his ability to stay calm, cool

    16    and collected; to con his way through airport security.           And

    17    defendant succeeded over and over and over again.

    18          He violated the trust placed in TSA to protect the

    19    traveling public.     He jeopardized the trust of fellow

    20    passengers who had no idea what was in that bag, all to smuggle

    21    a lot of cash.    He chose to ignore obvious and easily

    22    researched Internet sites that directed him to the state

    23    department rules about diplomatic passports.

    24          That is the only reasonable explanation given, that he

    25    stated he knew all of the rules.       Thus, based on the reasonable




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      1   and the only reasonable interpretation of the evidence,

      2   defendant knew beyond a reasonable doubt what he was doing, the

      3   evidence needed of each element as required, and you should

      4   find him guilty as charged.      Thank you.

      5                THE COURT:    Thank you.

      6                MR. HARBAUGH:    This case is about faith.      Mr. Flint

      7   placed his faith in Robert Shumake, he placed his faith in the

      8   IHRC, and he placed his faith in the TSA.         Mr. Flint was too

      9   trusting.    Mr. Flint should have done his homework, should have

    10    asked more questions, and he shouldn't have accepted the

    11    representations of others.      But one thing is certain, Mr. Flint

    12    did not intend to break the law.        Mr. Flint didn't commit a

    13    crime.    He acted in good faith, and he's not guilty of the

    14    charge.

    15          Now, ladies and gentlemen, the judge read to you a lot of

    16    jury instructions.     I want you to focus on one in particular,

    17    Jury Instruction 15.      It talks -- it gives you the definition

    18    of what knowing and willfully is, and it specifically states

    19    that a defendant who acts on a good-faith misunderstanding of

    20    the requirements of the law does not act willfully even if his

    21    understanding of the law is wrong, even if his understanding of

    22    the law is unreasonable.

    23          And the judge talked to you about that Mr. Flint has no

    24    obligation to prove any element, but, in particular, Mr. Flint

    25    doesn't have to prove to you that he acted in good faith.           The




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      1   Government has to disprove that Mr. Flint did not act in good

      2   faith and beyond a reasonable doubt.

      3         Now, ladies and gentlemen, reasonable doubt is the highest

      4   burden of proof under the law.       It requires that before we

      5   subject someone to a federal felony conviction, that the

      6   Government has met all of their burden, and the Government

      7   hasn't done it here.

      8         Mr. Flint relied in good faith on what TSA did, and he

      9   relied in good faith on what Mr. Shumake told him.          So let's

    10    first talk about his good faith reliance on TSA.          Now, we heard

    11    a lot about TSA's screening rules, we did.         And, ladies and

    12    gentlemen, I waited for it.      I was wondering if we were going

    13    to actually see this super secret Standard Operating Procedure

    14    that they talked about the entire trial.         Remember, I asked

    15    Mr. Kotula about that, could he show that to the public?           And

    16    he said, "No, we have to get written permission from the

    17    secretary of transportation."

    18          Now, it's up to the Government to decide how to present

    19    their case, but the Government wants you to convict Mr. Flint

    20    of violating an internal secret guideline, and they won't even

    21    show it to you.

    22          Now how do we know that Mr. Flint acted in good faith?             So

    23    even before we talk about the events of July 20th, that's at

    24    O'Hare Airport, Mr. Flint told anyone who would listen -- or

    25    told the individuals at O'Hare, and then later Agent Marriott,




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      1   that he had flown with the identical documents repeatedly and

      2   TSA had never had a problem.

      3         Ladies and gentlemen, it's real easy for the Government to

      4   prove that or disprove that.       They have surveillance videos at

      5   every airport.    They can get flight records.       They can disprove

      6   that easily, but they chose not to challenge that.          So, ladies

      7   and gentlemen, we have Mr. Flint repeatedly flying through the

      8   airport with the same documents.

      9         So the identical documents, the same secret protocol that

    10    was used in all the prior instances that he flew, and he's

    11    denied on that occasion.      They tell him that he now has to have

    12    a diplomatic passport.      He asked to read that secret rule.

    13    They deny him that.     He insists, "Is this a new rule?        Is this

    14    something different for O'Hare?"       They tell him "no," it's the

    15    same protocol, same procedure that they have been applying to

    16    him all the other times that he flew.

    17          He disagreed with them, and Mr. Flint elevated it to a

    18    supervisor.    He wanted a supervisor, Guy Sheridan, to explain

    19    what he believed was a change in the rule.         So let's talk about

    20    the next time he encounters -- the very same day, using the

    21    identical documents with the same secret protocol, and he's

    22    granted access.

    23          Now, we heard from Supervisor Yoksas.         He told you he

    24    followed the Standard Operating Procedure.         He found Mr. Flint

    25    met all the requirements, and he sent him on his way.           Now, the




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      1   Government talked about it with Ms. Wondrasek, but I'm

      2   confident they will talk about it again, that "Well, because

      3   these individuals had never had a" -- "had dealt with this

      4   situation, basically we should give TSA a pass."          The burden is

      5   on Mr. Flint to ensure they follow their own internal super

      6   secret guidelines.     Ladies and gentlemen, that's not how the

      7   law works.

      8         So the next time that Mr. Flint encounters TSA with the

      9   identical documents, this is at Midway, five days later, the

    10    same secret protocol, and this time we have something special.

    11    And I think this did come into evidence.         So after Mr. Flint

    12    went through Midway on July 20th, they reviewed a training

    13    bulletin.    We heard from Ms. Sheahan.      They issued a bulletin

    14    to narrow it down, to make it very clear.         It states

    15    "diplomatic passport."

    16          Ms. Wondrasek printed it off.       She had it with her.      She

    17    compared the requirements for the TSA guideline and looked at

    18    Mr. Flint's documents and found they met the requirement.

    19    Ladies and gentlemen, that's good faith.         That's acting in good

    20    faith.

    21          So I want to talk about Mr. Flint's good-faith reliance on

    22    Robert Shumake.    So we heard about Mr. Shumake in this case.

    23    We didn't get really any information about him, didn't testify,

    24    didn't hear about anything that he had said, but we do know how

    25    Mr. Shumake -- and the Government talked about, Mr. Shumake




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      1   duped the state department, Mr. Shumake duped the United

      2   Nations, and Mr. Shumake duped Mr. Flint.

      3         First, with regard to the state department, we know that

      4   Mr. Shumake had obtained honorary consul status from two

      5   countries, Botswana and Tanzania.       He had to go through the

      6   accreditation process.      He had to be vetted by the state

      7   department.    They could have denied him an ID in their

      8   discretion, and they chose to grant him.         He had honorary

      9   consul status.

    10          Now, we heard that that status terminated in 2015, but

    11    that's not available to the public, ladies and gentlemen.           We

    12    heard from Ms. Danishgar that that's in the TOMIS system that

    13    I'm not even going to try to give you the acronym, but their

    14    internal system that only she can access, that they did

    15    terminate.

    16          Now, she talked about the public can gain access when

    17    someone gets accreditation, but I listened, and she didn't talk

    18    about when somebody can find out if they had their status

    19    terminated.    Now, she talked about when an individual no longer

    20    has their status they're required to return that ID.           Well, we

    21    have no -- and she actually said Mr. Shumake didn't do that,

    22    but what we do know is that Mr. Shumake had an ID that was

    23    valid until January 31st of 2018.       So seven -- excuse me, six

    24    months after Mr. Flint got on the plane on July 25th,

    25    Mr. Shumake had a valid state department diplomatic ID.




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      1         And, ladies and gentlemen, the Government talks about, and

      2   we will get into this, that a person should know that only

      3   diplomatic passports, and not diplomatic IDs -- ladies and

      4   gentlemen, this is a diplomatic ID accepted by the state

      5   department, it's not a diplomatic passport, entitles a person

      6   to privileges and immunities.

      7         So the other entity that Mr. Shumake duped was the

      8   United Nations.    Now, again, it's the Government's decision on

      9   how they want to present their case, but we wanted to present

    10    the full story of Mr. Shumake's background, so we called the

    11    case agent, Special Agent Simon.       And he took the stand, and he

    12    explained to you the very involved process that he went

    13    through.

    14          We actually had missed a step.       He had to contact the FBI

    15    in New York, then the FBI in New York had to contact the state

    16    department, and then the state department had to contact the UN

    17    to get a determination as to Mr. Shumake's status, and the

    18    International Human Rights Commission.

    19          So we heard the results of that, right?         We heard

    20    confirmation that in 2016, Mr. Shumake and the IHRC Relief

    21    Fund -- or Release -- excuse me, Trust Fund Relief had

    22    consultative status with the UN and with a particular division

    23    of the UN, the ECOSOC.      That's his -- where he had specific

    24    consultative status with the UN.

    25          Ladies and gentlemen, this is Government's Exhibit 8, and




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      1   this was in the binder that Mr. Flint had at the airport.

      2   Mr. Flint had a copy of Mr. Shumake's UN ID.         Ladies and

      3   gentlemen, if that was good enough for the UN, certainly

      4   Mr. Flint relied in good faith on Mr. Shumake's representations

      5   that he is an ambassador.      Mr. Shumake duped the state

      6   department.    He duped the UN, and he duped Mr. Flint.

      7         So I listened to the Government, and they talked about the

      8   two Mr. Flints, that the one they are telling us about today,

      9   that he spent hours, days and weeks crafting this scheme, that

    10    Mr. Flint's a con man.      So let's talk about that.      Let's look

    11    at the -- does the evidence bear that out?         Ladies and

    12    gentlemen, I submit to you it does not.

    13          So what does a con man do?       Well, first, they're going to

    14    look as genuine as possible.       They're going to make sure that

    15    everything looks on the up and up.        Right?   They are going to

    16    do their best not to get flagged.       So we heard from Agent -- or

    17    excuse me, Mr. Duretto, the security manager, and he talked

    18    about -- I mean, it was incredibly detailed, all of the flaws

    19    he identified in this diplomatic ID.        It took him quite a

    20    while.   He noticed bubbles.     He noticed different fonts.

    21          Ladies and gentlemen, if someone is a professional con

    22    man, they're not going to make these amateur mistakes.           They're

    23    not going to think they're going to float past TSA screening

    24    and not one level, but multiple levels.        And, ladies and

    25    gentlemen, if Mr. Flint was trying to dupe -- well, actually, I




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      1   put up a picture because the Government made a huge issue about

      2   the passport number here.

      3         Now, it doesn't say it is a diplomatic passport, and the

      4   Government didn't provide any information that Mr. Flint didn't

      5   have his own personal passport, which we were told by

      6   Ms. Danishgar this is an ordinary personal passport; this is a

      7   diplomatic passport.     Mr. Flint didn't think he was going to

      8   confuse TSA that -- as the Government points out, his

      9   self-laminated identification card was going to be confused

    10    with a diplomatic passport.      Ladies and gentlemen, that just

    11    doesn't make sense.

    12          And the Government talked about other problems, and you're

    13    going to look at the packet.       So if Mr. Flint is going to

    14    create a packet to convince TSA that everything is on the up

    15    and up, they talked about the letter that was written from

    16    IHRC, and it talked about a wish, a hope to develop diplomatic

    17    status with the United States.       Ladies and gentlemen, why would

    18    you make -- write up a half lie?       Why not go all the way?      If

    19    you're going to fabricate the letter, you're going to say the

    20    United States has diplomatic status with the IHRC.          Why write a

    21    half lie?   According to the Government, Mr. Flint is a con man.

    22    Amateur mistake, ladies and gentlemen.

    23          So the other thing Mr. Flint did to dupe TSA was to put a

    24    copy of the Vienna Convention that hadn't gone into effect.

    25    Remember, the Government did a much better job.          They screen




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      1   shot that first part, the first page of the Vienna Convention

      2   and they showed it had not taken force.        Is that a professional

      3   con man?    No.   It's somebody relying on good faith, of

      4   documents from another organization.        He's relying on IHRC, and

      5   he's relying on Mr. Shumake.

      6         If you are going to pull off a scam on TSA, why are you

      7   going to create documents that create red flags?          It doesn't

      8   make sense.    Either Mr. Flint was the dumbest criminal in the

      9   world, or he was duped by Mr. Shumake.

    10          Now, the other thing a con man does is avoid drawing

    11    attention to yourself.      You don't want any scrutiny.       You want

    12    to get in and get out as fast as you can.         So let's talk about

    13    at O'Hare.    After Mr. Flint was told by Mr. Kotula that he

    14    couldn't fly with a diplomatic passport, that what he presented

    15    was inadequate and he either needed to have it screened or

    16    leave, Mr. Flint was given the option of talking with a

    17    supervisor, and Mr. Flint asked to.

    18          He did -- a con man who's caught is going to run, is going

    19    to get out of there as fast as he can.        Not Mr. Flint.     He

    20    wanted to speak with the supervisor.        He stayed there for over

    21    20 minutes, arguing, disagreeing with them regarding the

    22    protocol.    Ladies and gentlemen, that's not a con man; that's

    23    an innocent man.

    24          So the other thing a con man doesn't do -- or a con man

    25    does -- or excuse me.     If a con man's caught, he's going to




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      1   find another route.     He's not going to go back to TSA somewhere

      2   else.    He's going to rent a car and drive to L.A.        He's not

      3   going to expose himself to potentially getting caught again,

      4   but not Mr. Flint, because Mr. Flint believes in good faith

      5   that what he's doing is legal.

      6           So he goes to Midway that same day.      Now, this time

      7   Mr. Flint goes straight to the top.        He walks up to the person

      8   standing at the podium that checks the ID, and he asked for a

      9   supervisor, doesn't wait for one.       "I want a supervisor.       I

    10    have a diplomatic pouch, and I'm a diplomatic courier."           Ladies

    11    and gentlemen, that is inconsistent with a con man.          It's

    12    consistent with an innocent man.

    13            So finally, the third thing that a con man does -- oh, and

    14    I'm sorry, the other thing that a con man doesn't do is -- so

    15    as the Government stated, for a diplomatic courier, diplomatic

    16    pouch, they have no authority to screen it.         They can't look at

    17    it at all.    So he has a letter telling TSA that he has a cash

    18    deposit weighing approximately 18 pounds.

    19            Ladies and gentlemen, if there was ever a red flag, that

    20    would be one.    A con man isn't going to put that in his letter.

    21    He's not going to alert TSA that "I've got 18 pounds of cash."

    22    He's going to say -- the letter is just going to say "I have a

    23    diplomatic pouch."     That's it.

    24            So the final thing that a con man does -- and, I'm sorry,

    25    that's Exhibit 4 you can see at the bottom.         I'm doing a




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      1   terrible job of identifying.

      2          And, ladies and gentlemen, I didn't want -- and I don't

      3   want you to have to watch this entire video.         This is Defense

      4   Exhibit 218, but remember, the Government played little

      5   snippets of the video for you.

      6          (Video recording played in open court.)

      7                 MR. HARBAUGH:   And I just wanted to highlight that

      8   Mr. Flint stayed there for over 20 minutes.         Now, he's --

      9   according to the Government, he's a con man that just got

    10    caught.    Is he running out of the area?      Is he nervous?     He's

    11    relaxed.    He presses his point strongly.       He disagrees with

    12    TSA, and then he shakes the TSA's employee's hand at the end.

    13           (Video recording played in open court.)

    14                  MR. HARBAUGH:   I think it's at the 19-minute mark.

    15           So the final thing that a con man does is they don't help

    16    the police.    Now, what we know Mr. Flint did, he agreed to be

    17    interrogated, interrogated by two law enforcement

    18    professionals, FBI Agent Marriott and Air Marshal Williams, not

    19    for a couple of minutes, not a few questions; for two hours.

    20           Now, again, the Government can present their case any way

    21    they want.    We heard a few clips, probably amounted to about

    22    ten minutes of a two-hour interview.        Now, we don't know what

    23    Mr. Flint said during the rest of the interview.          We know he

    24    tried to place phone calls, that other individuals were on the

    25    end.   So even though we don't know what Mr. Flint said during




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      1   the rest of the interview, I guarantee you this:          If Mr. Flint

      2   ever admitted to knowingly violate the rules, if he ever

      3   admitted to evading security on purpose, you would have heard

      4   it.     The Government would have played it for you, but he

      5   didn't.

      6           You heard from Agent Marriott that throughout the

      7   interview Mr. Flint argued, contested, he didn't believe the

      8   diplomatic passport was required.       Mr. Flint also told them to

      9   talk to Mr. Shumake.     That's in one of the clips that you have.

    10    "You'll have to talk to Mr. Shumake."        The Government never

    11    talked to him, never interviewed him, never placed a phone

    12    call.    They were too focused on prosecuting Mr. Flint than

    13    finding out the truth.

    14            Now, I guess if a con man does decide to talk to the

    15    police, he's going to sound confident.        After all, the term

    16    "con man" is a short inversion of "confidence man."          But listen

    17    to those clips.    Mr. Flint doesn't sound confident at all.            And

    18    I forgot to mention, we heard from Agent Marriott, Mr. Flint is

    19    very cooperative throughout this two-hour interrogation.

    20            At one point he says he feels like an idiot.        Is that a

    21    con man, ladies and gentlemen?       It's an innocent man.      And a

    22    con man isn't going to tell the truth about something that

    23    looks bad.    They're not.    Flint admitted to laminating his ID

    24    card so it couldn't get torn.       He didn't say this to help

    25    himself; he said it because it's the truth.




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      1           The Government hasn't proven to you by any measure, and

      2   certainly not beyond a reasonable doubt, that Mr. Flint wasn't

      3   acting in good faith.     The only thing that the Government has

      4   shown is that at one point Mr. Flint was mistaken, at one point

      5   he was wrong, and at one point he was careless, but that's not

      6   evidence he was acting in bad faith.

      7           So let's look at each of those because I know the

      8   Government will highlight that when they get up on rebuttal.

      9   So let's talk about them now, the Government's assumption of

    10    bad faith.     So the first one is when Mr. Flint is interrogated

    11    and he says he does not recall being stopped previously.           Now,

    12    the Government wants you to believe that Mr. Flint was hiding

    13    something, that he was trying to keep from the FBI and the TSA

    14    that he had gotten turned away at O'Hare.         He's trying to hide

    15    that.

    16            So if Mr. Flint was trying to hide something, why would he

    17    talk to the FBI in the first place?        The easiest way to hide

    18    something is just to not say anything at all.         But Mr. Flint

    19    did agree to talk to law enforcement for two hours and was

    20    cooperative.    So even though Mr. Flint tried to be helpful,

    21    there's no question that that is a stressful environment.

    22            Now, when we first heard on direct with Agent Marriott, it

    23    sounded like a very casual encounter.        She greeted Mr. Flint

    24    when he got off the plane, and then the two walked to an

    25    interview room and had a discussion.        Now, it wasn't until she




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      1   admitted on cross and then we called Air Marshal Williams to

      2   lay out the actual scene.

      3         They reach out to the airplane before it lands.          Mr. Flint

      4   has just competed -- completed the second leg of a

      5   cross-country flight.     He just flew in from Minneapolis.        The

      6   plane is pulling up to the gate.       No one is allowed to leave.

      7   An air marshal and a police officer get on the plane, walk

      8   directly to Mr. Flint and take him off the plane.

      9         Air Marshal Williams told you he got him off the flight.

    10    Mr. Flint didn't have a choice.       He was required.     Then he was

    11    escorted with six to seven officers, armed, all just for him,

    12    brought to an interrogation room and sat there for two hours.

    13          Now, I just want to touch -- because I have limited time

    14    and I don't want to delay you, but I want to touch on one issue

    15    that the Government has to prove, and that's that Mr. Flint

    16    voluntarily entered Terminal 3 of LAX, that on his own

    17    volition, he got off the plane and went into Terminal 3.

    18          The Government didn't present that evidence, but we did,

    19    and it's clear that Mr. Flint had no choice.         They can't prove

    20    he willfully entered Terminal 3.       And on that basis alone, you

    21    must find him not guilty.      But I want to go back to this

    22    environment, this stressful environment leading up to this

    23    two-hour interrogation.

    24          Mr. Flint wasn't lying about the O'Hare stop.          Mr. Flint

    25    blanked in a highly stressful situation.         And it doesn't make




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      1   sense that he would try to lie.       And we heard from Mr. Kotula

      2   that there are video cameras, surveillance cameras throughout.

      3   And you can rely on your own experience traveling through an

      4   airport that there are surveillance cameras everywhere.

      5   Mr. Flint didn't think he was going to be able to hide or cover

      6   up the fact that he got turned away from O'Hare.          Mr. Flint

      7   blanked.

      8           One thing, we know he was nervous, and I want you to

      9   listen to those recordings.      But ladies and gentlemen, and

    10    this, again, goes to Mr. Flint, the Government's theory that

    11    Mr. Flint's a con man, that he can't even identify the

    12    international agreement that's supposed to govern his conduct.

    13    He says the Geneva Convention.       Now, we heard from

    14    Agent Marriott, he's not an expert in international law, but

    15    even she knew that the Geneva Convention applies to the laws of

    16    war and not to consular relations.        So the Government relies on

    17    a mistake.    It's not evidence of bad faith.

    18            So the other thing that the Government wants you to

    19    believe that Mr. Flint acted in bad faith is when he asserted

    20    diplomatic immunity back in 2016, and this is with the Deputy

    21    Sheriff Schneider.     And we know that this occurred in September

    22    2016.    This is a month before Mr. Flint had his diplomatic ID

    23    issued from the state department.       He didn't know his status,

    24    and he thought he was covered.

    25            But when Mr. Flint discovered that he didn't have immunity




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      1   from the arrest or the traffic stop, he took responsibility.

      2   He owned up to his conduct, he accepted the misdemeanor charge,

      3   the traffic infraction, and paid a fine.         And, ladies and

      4   gentlemen, I want you to listen to those recordings because

      5   Mr. Flint repeatedly tells Ms. Marriott that he doesn't have

      6   diplomatic immunity.     He learned from his mistake.       He was

      7   wrong, but he didn't act in bad faith.

      8         So the final thing the Government's focused on is

      9   Mr. Flint's inadequate research.       Ladies and gentlemen, no

    10    question, Mr. Flint was careless, didn't look into it enough

    11    and should have.     Before he got on that plane, he should have

    12    looked into it.    But, ladies and gentlemen, the instruction

    13    says even if Mr. Flint was wrong, even if he was

    14    unreasonable -- and you can probably conclude he was

    15    unreasonable for not looking into it -- he is still not guilty

    16    because he relied on Mr. Shumake.       He relied on Mr. Shumake's

    17    status with the state department and with the UN.

    18          This is my last opportunity to talk to you, so I want to

    19    emphasize the key instruction that governs everything you do

    20    here, and that's proof beyond a reasonable doubt.          The burden

    21    rests with the Government to prove beyond a reasonable doubt.

    22    Ladies and gentlemen, I have been doing this for a while, and I

    23    struggle with understanding what reasonable doubt is.

    24    Reasonable doubt is a deep-seated concern, a gnawing feeling, a

    25    nagging question.




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      1          Ladies and gentlemen, we're at the end of this case, and

      2   there are a lot of nagging questions.        Where's Mr. Shumake?

      3   What do the IHRC know?      And the most nagging question that I

      4   have is why?    Why?   Why would Mr. Flint fly with a diplomatic

      5   pouch through the airport knowingly and willfully violating the

      6   law?

      7          So the Government's theory is that Mr. Flint wanted to

      8   avoid screening of cash.      Now, we heard from Mr. Kotula there's

      9   nothing illegal about cash, nothing at all.         A person can walk

    10    onto a plane with as much cash as they want.         We know about

    11    international flights; you must declare over 10,000, but for a

    12    domestic flight, which is what Mr. Flint was on, he had no

    13    obligation.    It was completely legal.      Cash that he fully

    14    disclosed in the letter that he brought with him.

    15           So why would Mr. Flint violate a law he didn't need to?

    16    Why would he jeopardize his status as a lawyer in not one

    17    state, but two so he could do something that he was legally

    18    allowed to do?    Why would Mr. Flint risk a felony conviction to

    19    do something that was legal?       Ladies and gentlemen, the

    20    Government hasn't answered that question.         They haven't even

    21    attempted to answer that question.        Instead, they want you to

    22    assume that Mr. Flint acted in bad faith.

    23           But proof beyond a reasonable doubt is not based on

    24    assumptions.    It's based on evidence, and the evidence shows

    25    that Mr. Flint was duped.      And the other great part of our




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      1   criminal justice system is our reliance on a jury, 12

      2   individuals from the public, from all walks of life with vast

      3   life experience.     We don't rely on 12 lawyers.       And no offense,

      4   Your Honor, but we don't rely on judges.         That before the

      5   Government can sanction an individual with a federal felony

      6   conviction, we make sure that the public decides that they have

      7   proven their case beyond a reasonable doubt.

      8           Mr. Flint now places his faith in you, the jury, and we

      9   ask that after you review all of the evidence, that you reach

    10    the only just verdict in this case, which is not guilty.            Thank

    11    you.

    12                 THE COURT:     Thank you.

    13            Mr. Yanniello.

    14                 MR. YANNIELLO:     Ladies and gentlemen, there are good

    15    con men and there are lousy con men.        Bernie Madoff is on the

    16    one end of the spectrum, and then there's guys who call on the

    17    phone and try to market you with some kind of telemarketing

    18    scheme.    What do they have in common?      Criminal intent.      They

    19    want to defraud, and the same intent that the defendant and his

    20    client of seven years, his buddy, Mr. Shumake, had on July

    21    25th.

    22            Now, many of the arguments that defense counsel raised are

    23    smoke and mirrors.       I think, first, it's important, the

    24    instructions and reasonable doubt is a great starting place.              A

    25    reasonable doubt is based on reason and common sense.           It's not




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      1   based on speculation.      And when you go back there and you

      2   deliberate -- we are on the 10th floor here -- don't leave your

      3   common sense in the room.      Take it back.

      4           Now, defense counsel asked questions about the IHRC.            Take

      5   a look at the documents.      We discussed some of them.       He said

      6   because it references a cash deposit, defendant had nothing to

      7   hide.    Well, ask yourself, you saw that this organization

      8   appeared to be based out of a P.O. Box in Pakistan.          What

      9   organization -- what credible, legitimate organization needs to

    10    transport cash all the time?        On July 25th, on July 20th you

    11    saw at least two examples of that, bags of cash.          Organizations

    12    have bank accounts.     They deposit their cash.

    13            Now, defense counsel also talked about this concept of a

    14    secret, that there were secret rules.        We discussed this.

    15    There's nothing secret about the requirement that a diplomatic

    16    courier have a diplomatic passport.        Google could have brought

    17    the defendant's attention to it, and it probably did because he

    18    showed such great control and such great understanding of the

    19    rules when he was interacting with TSA officers.

    20            And the one thing I do agree with defense counsel, you

    21    should listen to those audio files.        You should listen to those

    22    excerpts, and you be the judge about whether or not when

    23    defendant was asked specifically by Agent Marriott, "Have you

    24    ever been stopped before?" he says it multiple times, "No.              For

    25    what?"    Cagey efforts.    "No."    He was stopped five days before.




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      1   He was turned away.     Counsel showed you a video, he was there

      2   20 minutes and trying to negotiate, get inside the checkpoint.

      3          I also want to bring your attention to Exhibit 31, which

      4   is the training bulletin that Ms. Wondrasek referenced in her

      5   testimony, that after defendant had successfully evaded

      6   security screening on July 20th.       Now, one of the things here

      7   is the requirement that there be a diplomatic passport, but

      8   another thing to consider is this was actually a sophisticated

      9   con.   This scheme was pretty smart.       The TSA can't screen a

    10    diplomatic pouch, a bona fide diplomatic pouch.

    11           And so defendant's negotiating up there, but he knows

    12    there's no real repercussions, "They will send me away.           I will

    13    say I will call the ambassador when I leave."         And what did he

    14    do?    Didn't try to get a diplomatic passport.       He went straight

    15    across town to Midway, tried the con again.

    16           As for the why, ladies and gentlemen, we know why.           He

    17    wanted to smuggle thousands and thousands and thousands of

    18    dollars through airport security without it being screened.

    19    You heard from Mike Duretto, that large sums of cash when they

    20    go through an x-ray machine, they look like -- it comes out as

    21    organic material that could be confused with explosives.            It's

    22    going to get sent to secondary screening.         TSA is going to open

    23    up that bag; they are going to examine it closely.          Risk.

    24    Risk, that's why.     Smuggle thousands and thousands and

    25    thousands of dollars, unscreened, untouched by any law




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      1   enforcement, unnoticed.

      2         I also want to talk to you about another red herring, that

      3   defendant somehow didn't enter Terminal 3 of LAX.          Ladies and

      4   gentlemen, we have all been on flights.        You don't get the

      5   option to sit on the flight and stay there.         You have to leave.

      6   Everybody exits and they leave.       Agent Marriott told you that

      7   defendant walked out of the terminal.        In fact, when he stepped

      8   foot on that terminal, when he stepped foot on the boarding

      9   ramp, he was within LAX.

    10          He was actually -- if you look at Michael Duretto, if you

    11    remember Michael Duretto's testimony, the entire blue space was

    12    the secure area of that terminal.       So the second he stepped out

    13    of the airplane and into the boarding ramp, he was in

    14    Terminal 3.

    15          And as far as agents coming there and making sure that

    16    defendant was escorted to the interview room, of course they

    17    don't know what's in that bag.       It could be anything.      Safety

    18    of the passengers, safety of everybody, that was necessary.

    19          Now, Counsel talked to you about good faith, good faith in

    20    Mr. Shumake.    Well, we know about Mr. Shumake; criminal history

    21    this big, a fraudster.      Good faith means good.      It doesn't mean

    22    relying on fake documents, pretending to be a diplomat.

    23          When you go back in the jury room and deliberate on all of

    24    the evidence, think about it, use your common sense.           Defendant

    25    lied in July 2016, "I have diplomatic immunity.          I am a civil




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      1   rights attorney for the U.S. government."         The officer says,

      2   "No," arrests him.      Defendant pleads guilty.     He knows he is

      3   not a diplomat.    So what does he do?      Comes to the airport with

      4   an identification card now claiming to be a diplomat.           The

      5   scheme got more sophisticated.

      6           Ladies and gentlemen, there's only one result that's

      7   consistent with the evidence that you've heard, and that's

      8   guilty.    Thank you.

      9                THE COURT:    Thank you.

    10            That concludes our argument of counsel.

    11            So I'm informed by Mr. Cruz that lunch has arrived.           Do

    12    not start your deliberations.       I'm going to give you some

    13    additional instructions when you return after lunch.           Again,

    14    during your absence do not discuss the case amongst yourself or

    15    with any other person.      And I believe everything would be

    16    available in the jury room.       So you're excused to the jury

    17    room.    Please return -- we will make it at 1:00, 1:00.

    18            (Out of the presence of the jury.)

    19                 THE COURT:    Please have a seat.

    20            Has the Government filed their opposition to the motion?

    21                 MS. RO:    Not yet, Your Honor.     I believe the Court

    22    graciously gave us until 1:30.       So we are going to run back.

    23                 MS. WAKEFIELD:    May we make a motion, Your Honor?

    24                 THE COURT:    Yes.

    25                 MS. WAKEFIELD:    We would move the Court to give our




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      1   proposed instruction of entry.       The Government argued in its

      2   opening closing that Mr. Flint entered the sterile area of

      3   Midway, the aircraft was sterile, so he stayed in the sterile

      4   area and he violated by landing at LAX with an unscreened bag.

      5   And we think that misconstrues the statute and also constitutes

      6   a constructive amendment to the indictment.         So we would ask

      7   for the Court to provide our instruction with respect to entry,

      8   or in the alternative, move to dismiss based on improper venue.

      9   That's the first item.

    10          And then the second item is the Government implied in

    11    opening and closing that -- it put the address of IHRC from the

    12    letterhead on it's PowerPoint.       It said 5250 Lankershim

    13    Boulevard in North Hollywood.       The Government implied that this

    14    was a bogus office.     The agent actually confirmed that there

    15    was an IHRC office at 5250 Lankershim Boulevard.

    16                 THE COURT:    And your request -- in reference to your

    17    request for the another instruction, the Court would just refer

    18    you and the Government to Instruction Number 14, which directs

    19    the jury as to what the elements of the offense are, what the

    20    Government's proved beyond a reasonable doubt, and the

    21    Government must prove that the defendant entered an airport

    22    area that serves an air carrier, namely, a sterile area of

    23    Terminal 3 at Los Angeles International Airport.          So I think

    24    that instruction, along with other elements that are required

    25    to be proved, will guide the jury.        The request for an




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      1   additional instruction would be denied.

      2                MS. WAKEFIELD:    Thank you.

      3                THE COURT:    Thank you.    And we are in recess until

      4   1:00.

      5                THE COURTROOM DEPUTY:      The Court's in recess.

      6           (Recess taken from 11:55 a.m. to 1:07 p.m.)

      7           (Out of the presence of the jury.)

      8                THE COURTROOM DEPUTY:      Please remain seated and come

      9   to order.    This court is again in session.

    10                 THE COURT:    Okay.   We are ready for the jury.      They

    11    are lined up.    And we have all counsel present, with the

    12    exception of Ms. Ro is not here.

    13            Do we have jury instructions that are prepared?

    14                 THE COURTROOM DEPUTY:      Yes, Your Honor.    They are on

    15    the table.

    16                 THE COURT:    Have you had an opportunity to review

    17    the jury instructions?

    18                 MS. WAKEFIELD:    Yes, Your Honor.

    19                 THE COURT:    Just for the record, the verdict form

    20    has been approved by both sides?

    21                 MS. WAKEFIELD:    Yes, Your Honor.

    22                 THE COURT:    And you have reviewed the exhibits to

    23    make sure the exhibits given to the jury are the exhibits that

    24    were received into evidence?

    25                 MS. WAKEFIELD:    Yes.




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      1         One question on the verdict form.         Sorry.   It says "as

      2   charged in the indictment."       Is the indictment going back to

      3   the jury?

      4                THE COURT:    The indictment would generally not go

      5   back to the jury unless you would request it.

      6                MS. WAKEFIELD:      We would not request it.    So I don't

      7   know if it makes sense to change the verdict form to say

      8   something else.

      9                THE COURT:    No.    It makes sense to just keep it "as

    10    charged in Count One of the indictment."

    11                 MS. WAKEFIELD:      Okay.    Thank you.

    12                 THE COURT:    Let's get the jury in.

    13                 THE COURTROOM DEPUTY:        All rise for the jury,

    14    please.

    15          (In the presence of the jury.)

    16                 THE COURT:    We have the jury reassembled with the

    17    alternate.    Please have a seat.        We have counsel present.   The

    18    defendant is also present.

    19          So the jury is about to commence deliberation.          You start

    20    that process by selecting your foreperson.         I would suggest

    21    that you take a little bit of time to make sure that the person

    22    who is the foreperson is the right person for the job.           It's a

    23    person that makes sure everybody's voice will be heard, make

    24    sure that the jury attempts to accomplish its goal, which is to

    25    come to a verdict, if you can do so, somebody that is going to




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      1   keep order in the jury room.

      2          You're going to have a verdict form.       It's a simple

      3   question as to what the jury is going to be asked to answer

      4   here, and you're going to have the jury instructions to guide

      5   you.   Each juror will have a copy of those instructions to

      6   guide you in your deliberations.

      7          And then all of the exhibits that have been received into

      8   evidence will be provided to you in that jury room.          If you

      9   wish to have any of the audio or video played back, we can do

    10    it here in open court, and you would do that by sending out a

    11    request to the bailiff or the clerk, and then everybody would

    12    be reassembled here in the courtroom.

    13           With that being said, are there any questions before you

    14    start your deliberations?

    15                 JUROR:    Do you want to take these?

    16                 THE COURT:    Good question.    Please leave the

    17    transcripts here because, again, the transcripts are not the

    18    evidence.   It's the audio which you heard that's the evidence.

    19    And you would take your notebooks back there.

    20           And then you determine when you would like your afternoon

    21    break.   We will stay here until at least 4:30.         If you would

    22    like to remain longer, we can remain longer.

    23           And with that, please start your deliberations.

    24                 THE COURTROOM DEPUTY:     Your Honor, I have to swear

    25    in the bailiff.




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      1                THE COURT:    I'm sorry, we have to swear in the

      2   bailiff.

      3                 DAVID WILLIAMS, THE BAILIFF, WAS SWORN

      4                THE BAILIFF:    I do.

      5                THE COURTROOM DEPUTY:     For the record, please state

      6   your name, and spell your last name.

      7                THE BAILIFF:    David Williams, W-i-l-l-i-a-m-s.

      8                THE COURTROOM DEPUTY:     Thank you.

      9                THE COURT:    And then only the 12 jurors will be

    10    taken into the jury room.      The alternate will be kept separate,

    11    the reason being the jury is composed of 12 persons only, and

    12    to avoid any type of complication that could occur in the jury

    13    room having the extra person there, the alternate is always

    14    separated.

    15          And may I have the jury proceed to the jury room, please.

    16                 THE COURTROOM DEPUTY:     All rise for the jury,

    17    please.

    18          (Out of the presence of the jury.)

    19                 THE COURT:    We are in recess.     Just make sure you

    20    are in contact with Mr. Cruz and that you should be able to be

    21    at a location where you can arrive within 15 minutes after

    22    receiving a phone call, or sooner.

    23                 MS. WAKEFIELD:    Thank you, Your Honor.

    24                 THE COURT:    And do you have a pleading?

    25                 MS. RO:   I do, Your Honor.     May I approach?




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      1                THE COURT:    Yes.

      2                THE COURTROOM DEPUTY:     The Court's in recess.

      3         (Recess taken from 1:12 p.m. to 2:44 p.m.)

      4         (Out of the presence of the jury.)

      5                THE COURTROOM DEPUTY:     Please come to order.       This

      6   court is again in session.

      7                THE COURT:    We have everyone reassembled.

      8         Please make sure that you stay within 15 minutes away so

      9   that when Mr. Cruz calls, you can be here within 15 minutes.

    10    It took a little bit longer to round up everyone.

    11          We have jury note number 1, time 2:12.         Question 1:    "We

    12    would like to hear the FBI interview 'audio' between Flint and

    13    Special Agent Marriott."      The next question is -- it looks like

    14    "How many times before July 20th, 2017 did he..." I'm assuming

    15    that's the defendant "...go through the TSA checkpoint with his

    16    diplomatic card and diplomatic pouch?"        And it's signed the

    17    foreperson, Mr. Hernandez.

    18          So the question has been shared with both sides.          Do you

    19    have any input?

    20                 MS. RO:   Your Honor, for the first question, we

    21    agree that all the clips should be played in its entirety with

    22    the instruction that they should consider -- the jury should

    23    consider it in light of all the other evidence and not give it

    24    undue influence.     To the second question, I believe the parties

    25    are in agreement, the jury should rely on its memory of the




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      1   evidence.

      2                 THE COURT:   Okay.

      3                 MS. WAKEFIELD:    And on number 2, the defense would

      4   ask that the Court reinstruct the jury on burden of proof and

      5   reasonable doubt instructions.

      6                 MS. RO:   Your Honor, we don't believe that's

      7   necessary.

      8                 THE COURT:   I'm not going to reinstruct the jury and

      9   only include one of the jury instructions.

    10                  THE COURTROOM DEPUTY:     Ready for the jury,

    11    Your Honor?

    12                  THE COURT:   Yes.

    13                  THE COURTROOM DEPUTY:     Please rise for the jury.

    14          (In the presence of the jury.)

    15                  THE COURT:   We have the jury reassembled with

    16    counsel and our alternate.        The defendant is present.     Please

    17    have a seat.

    18          We have jury question number 1 -- or Jury Note, I should

    19    say, with two questions.       First is "We would like to hear the

    20    FBI interview with audio" -- "interview 'audio' between Flint

    21    and Special Agent Rebecca Marriott."        That's going to be played

    22    for you here in open court.

    23          The second question is:       "How many times before July 20,

    24    2017 did he..." referring to Mr. Flint "...he go through the

    25    TSA checkpoint with his diplomatic card and diplomatic pouch?"




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      1         When we get a note from the jury, we discuss with counsel

      2   how it should be responded to.       In reference to the first

      3   request, the audio will be played here in open court.           I would

      4   instruct the jury not to place any undue influence -- be unduly

      5   influenced of any item of evidence.        You have to consider the

      6   evidence in its entirety.      So when you hear it, please do not

      7   place any undue influence on that particular audio.

      8         Then in reference to the second, how many times before

      9   July 20th did Mr. Flint go through the TSA checkpoint with his

    10    diplomatic card and diplomatic pouch?        It's up to the jury to

    11    recall that from the testimony.

    12          And with that, we will have the playback.

    13                 MR. YANNIELLO:    I will go in order of the exhibit

    14    numbers.

    15                 THE COURT:    Yes.

    16                 MR. YANNIELLO:    Starting with 47.

    17                 THE COURT:    I think you have the transcripts up

    18    there to assist you.      Again, it's the audio that's the

    19    evidence, not the transcripts.

    20          (Audio recording played in open court.)

    21                 MR. YANNIELLO:    Okay.   I'm going to play 48.

    22          (Audio recording played in open court.)

    23                 MR. YANNIELLO:    Playing 49.

    24          (Audio recording played in open court.)

    25                 MR. YANNIELLO:    Turning to Exhibit 50.




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      1         (Audio recording played in open court.)

      2                 MR. YANNIELLO:   Exhibit 51.

      3         (Audio recording played in open court.)

      4                 MR. YANNIELLO:   Exhibit 52.

      5         (Audio recording played in open court.)

      6                 MR. YANNIELLO:   Exhibit 53.

      7         (Audio recording played in open court.)

      8                 MR. YANNIELLO:   Exhibit 54.

      9         (Audio recording played in open court.)

    10                  MR. YANNIELLO:   Exhibit 55.

    11          (Audio recording played in open court.)

    12                  MR. YANNIELLO:   And Exhibit 58.

    13          (Audio recording played in open court.)

    14                  THE COURT:   Okay.    It's been played for the jury.

    15          And I would ask the jury to go back in the jury room to

    16    continue deliberations.      Again, do not be unduly influenced by

    17    one item of evidence.      Consider all of the evidence in its

    18    entirety.

    19                  THE COURTROOM DEPUTY:     All rise for the jury,

    20    please.

    21          (Outside the presence of the jury.)

    22                  THE COURT:   The jury has been excused, I believe.

    23    Is the door shut or closed?        Yes, it's closed.

    24          Okay.    I have the pending motion for judgment of

    25    acquittal.    The Court has reviewed, again, the oral motion made




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      1   by Ms. Wakefield, and I have reviewed the Government's

      2   opposition.    In the opposition the Government did not cover one

      3   of the issues raised by Ms. Wakefield, and that was the issue

      4   concerning the stopover in Minneapolis.        I didn't see that in

      5   the pleading.

      6                 MS. RO:   Your Honor, I believe there is mention to

      7   that in the footnote.

      8                 THE COURT:   Oh, okay.

      9                 MS. RO:   And I apologize, I did not bring hard

    10    copies of that motion at this time, and I can't reference the

    11    Court to the page.

    12                  THE COURT:   Page -- it looks like page 11.

    13                  MS. WAKEFIELD:   Thank you, Your Honor.

    14          One other thing, Your Honor, Mr. Harbaugh and I were

    15    talking in preparation for arguing this, and we couldn't recall

    16    any evidence regarding what happened after Mr. Flint entered --

    17    or went past the security in Midway.        We don't remember if

    18    there was -- I don't remember testimony about him actually

    19    boarding a plane there.      The flight records were not introduced

    20    into evidence.    I don't think there was witness testimony that

    21    he actually boarded an airplane.

    22          So I think the only testimony that came in was

    23    Mr. Harbaugh's cross-examination of Special Agent Marriott,

    24    that the plane in which Mr. Flint landed at LAX that day was

    25    Delta flight 1358, and it came from Minneapolis-St. Paul




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      1   Airport.    So there's sort of a big gap in there how he got from

      2   Midway to Minneapolis at all and then what happened at

      3   Minneapolis.

      4         So if there is evidence of a layover, there is only

      5   evidence of a flight from Minneapolis to L.A.         There is no

      6   testimony about screening in Minneapolis, no testimony about

      7   security procedures in place at Minneapolis, nothing like that.

      8   So I think there is a total absence on this point.

      9                 THE COURT:   Who's going to argue that point?

    10                  MR. YANNIELLO:   I'm going to argue that point,

    11    Your Honor.

    12          I think that there was ample evidence provided on that

    13    point.    I believe Ellen Sheahan testified about both of the

    14    flights that Mr. Flint took.       I think that with respect to

    15    security protocols and procedures, I think Mike Duretto

    16    testified that in any airport past a security checkpoint is a

    17    sterile area.

    18          And, again, I will stand by the Government's footnote, if

    19    you are traveling through a -- you have a leg and a layover

    20    somewhere, you are moving through a secure area to the next

    21    flight.    And in the defendant's interview where he was

    22    specifically asked, he sat there for two hours being

    23    interviewed, the first thing he said, had he been screened, he

    24    would have said, "I was screened at the airport I stopped

    25    over."    So just based on the evidence that's presented, I




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      1   think --

      2                THE COURT:    Yes, I think, based on -- look, until

      3   the motion that's before the Court, the Court has to draw all

      4   inferences in favor of the Government here, and it seems to me

      5   that the reasonable inferences to draw is that the defendant

      6   boarded a plane in Midway, landed in Minneapolis.          It's not

      7   clear how long he was in Minneapolis.

      8         And there are two possible inferences that could be drawn:

      9   one is that he stayed in the sterile area or on the plane in

    10    Minneapolis; the other is that he could have left the sterile

    11    area and then returned and was screened in Minneapolis and then

    12    flew from Minneapolis to Los Angeles.

    13          But I think the Government's point here is a fair one.            In

    14    the interview that was just played for the jury and for the

    15    Court and for counsel, there is no suggestion in that interview

    16    that the defendant was claiming that his pouch had been

    17    screened by anyone, so the inference that the Court draws is

    18    that he was not screened in Minneapolis.

    19          And drawing all other inferences in favor of the

    20    Government, the Court would deny the motion for judgment of

    21    acquittal.    Thank you.    We will just have to wait for the jury.

    22                    (Proceedings concluded at 3:06 p.m.)

    23                                    --oOo--

    24

    25




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      1                     CERTIFICATE OF OFFICIAL REPORTER

      2

      3   COUNTY OF LOS ANGELES      )
                                     )
      4   STATE OF CALIFORNIA        )

      5

      6                I, CAROL JEAN ZURBORG, Federal Official Realtime

      7   Court Reporter, in and for the United States District Court for

      8   the Central District of California, do hereby certify that

      9   pursuant to Section 753, Title 28, United States Code that the

    10    foregoing is a true and correct transcript of the

    11    stenographically reported proceedings held in the

    12    above-entitled matter and that the transcript page format is in

    13    conformance with the regulations of the judicial conference of

    14    the United States.

    15

    16    Date:   October 29, 2018

    17

    18

    19                                    /s/ CAROL JEAN ZURBORG

    20                        CAROL JEAN ZURBORG, CSR NO. 7921, CCRR, RMR
                                    Federal Official Court Reporter
    21

    22

    23

    24

    25




                              UNITED STATES DISTRICT COURT
